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 7                                      UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    LAID YSAGUIRRE,                                    No. 2:23-cv-00327 AC PS
11                         Plaintiff,
12             v.                                        ORDER TO SHOW CAUSE
13    R. RODRIGUEZ and SACRAMENTO
      COUNTY SHERIFF DEPARTMENT,
14
                           Defendants.
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17            Plaintiff filed a pro se complaint on February 21, 2023, along with a motion to proceed in

18   forma pauperis. ECF Nos. 1, 2. On April 24, 2023, the court granted the motion to proceed IFP

19   and found service appropriate. ECF No. 7. Plaintiff was directed to supply the U.S. Marshal with

20   the paperwork for service and file a notice on the docket stating that he has completed that task no

21   later than May 9, 2023. ECF No. 7. Roughly four months later, plaintiff has taken no action in

22   this case. The court is concerned that plaintiff has abandoned this case. Local Rule 110 provides

23   that failure to comply with court orders or the Local Rules “may be grounds for imposition of any

24   and all sanctions authorized by statute or Rule or within the inherent power of the Court.”

25            Accordingly, IT IS HEREBY ORDERED that:

26         1. Plaintiff is Ordered to Show Cause, in writing no later than October 11, 2023, why this

27            action should not be dismissed for failure to prosecute;

28   ///
                                                        1
     Case 2:23-cv-00327-AC Document 10 Filed 09/12/23 Page 2 of 2


 1   2. Plaintiff’s filing of a notice of service upon the U.S. Marshal will be deemed good cause
 2      shown; and
 3   3. If plaintiff fails to comply with this order, the case will be dismissed without prejudice for
 4      failure to prosecute.
 5   4. DATED: September 12, 2023.
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